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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                           Plaintiffs,                                          8:14CR155

        vs.
                                                                                   ORDER
JUAN MOYA,

                           Defendant.


This matter is before the court on defendant's MOTION FOR ENLARGEMENT OF TIME TO FILE PRE-
TRIAL MOTIONS [70]. For good cause shown, I find that the motion should be granted. The defendant will
be given an approximate 91-day extension. Pretrial Motions shall be filed by December 26, 2014.


         IT IS ORDERED:


         1.       Defendant's MOTION FOR ENLARGEMENT OF TIME TO FILE PRE-TRIAL MOTIONS
[70] is granted. Pretrial motions shall be filed on or before December 26, 2014.


         2.       The defendant is ordered to file the affidavit required by NECrimR 12.1(a) regarding speedy
trial as soon as practicable.


         3.       The ends of justice have been served by granting such motion and outweigh the interests of
the public and the defendant in a speedy trial. The additional time arising as a result of the granting of the
motion, i.e., the time between September 26, 2014, and December 26, 2014, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act for the reason defendant's counsel
required additional time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(8)(A) & (B).




         Dated this 29th day of September, 2014.

                                                            BY THE COURT:

                                                            s/ F.A. Gossett, III
                                                            United States Magistrate Judge
